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                    IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MARYLAND

JENNELL BLACK, et al.,                        *
                     Plaintiffs,
                                              *
               v.
                                              *       No. 1:20-cv-03644-CCB

RUSSELL ALEXANDER, et al.,                    *
                     Defendants.              *

      *       *     *      *       *      *       *      *     *      *       *      *

                               JOINT STATUS REPORT

       Plaintiffs, Jennell Black, individually and as personal representative of the estate of

Anton Black, Antone Black, individually and as personal representative of the estate of

Anton Black, Katyra Boyce, as mother and next friend of W.B. (collectively, the “Family

Plaintiffs”), and the Coalition for Justice for Anton Black (the “Coalition”), and defendants,

the state of Maryland, Dr. Stephanie Dean,1 in her official capacity as the interim chief

medical examiner, and Dr. Russell Alexander in his official capacity (collectively, the

“State Defendants”), and Dr. Russell Alexander, in his individual capacity, and Dr. David

Fowler, in his individual capacity (collectively, the “Individual Defendants”), submit this

joint status report as requested by the Court. ECF 187.




       1
        Dr. Dean is the new interim chief medical examiner, which replaces Dr. John Stash
pursuant to Rule 25(d).
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       1.     The parties have reached a settlement-in-principle in this matter.       The

settlement agreement and release has been signed by all but one party. The final signature

is expected to be obtained within the next business day.

       2.     The settlement is contingent upon approval by the Maryland Board of Public

Works (“BPW”). The matter has not yet been presented to the BPW due to the delay in

obtaining all signatures.

       3.     Once the final signature is obtained, the settlement will be referred to the

BPW for consideration.

       4.     The Parties will report back on the BPW’s consideration of the settlement

following its meeting and will advise, if necessary, as to any additional steps.



                                                  Respectfully submitted,

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/s/                                           /s/

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October 2, 2023




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